            Case 3:21-cv-08458-LB Document 21
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                                                      01/21/22 Page
                                                                Page11ofof20
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 1 Bryon Jackson
 2 1350 Marina Village Parkway #
   433
 3 Alameda, California 94501
 4 Tel: (201) 776-4282
 6
 7 Plaintiff in PRO

     8                               UNITED STATES DISTRICT COURT
 9               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 10

 11 BRYON JACKSON,                                          Case No. 3:21-cv-08458-LB

 12                    Plaintiff,                           (State Court Case No. RG21110499)
                                                            NOTICE TO “AMEND” MOTION TO
                                                            DENIES DEFENDANT MOTION TO
 13             v.                                          DISMISS OR STRIKE
                                                            PORTIONS OF PLAINTIFF’S
 14 TARGET CORPORATION,                                     COMPLAINT; MEMORANDUM
                                                            OF POINTS AND AUTHORTIES
 15                    Defendant.

 16
                                                            Judge:            Hon. Laurel Beeler
 17                                                         Order Date:       January 19, 2022
                                                            Time:             9:30 a.m.
 18                                                         Crtrm:            B
 19
20 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
21              PLEASE TAKE NOTICE THAT on January 19, 2022, at 9:30 am, or as soon thereafter
22 in the courtroom of the Honorable Laurel Beeler, located in Courtroom B of the Philip Burton

23 Federal Building & United States Courthouse, 450 Golden Gate Avenue, San Francisco California,

24 The Honorable Laurel Beeler, issued an order granting Target Corporation’s motion with leave to

25       ament which denies the defendant motion to dismiss the following portions of Plaintiff’s complaint:
26              1.Page 3, ¶ 14(a)(2): Prayer for “punitive damages”

27              This motion is made pursuant to Fed. R. Civ. P. 12(b)(6) and/or 12(f) on the ground that
         4865-5561-6774.1
                                                                                     Case No. 3:21-cv-08458-LB
                            PLAINTIFF PRO MOTION TO DENIES DEFENDANT MOTION TO DISMISS OR
                                       STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT
         Case 3:21-cv-08458-LB Document 21
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1 Plaintiff’s prayer for punitive damages is recoverable as a matter of law in this case, this is a fact

2 sufficient to support an award of punitive damages and is subject to a motion to to amend the motion

3 to strike on that ground of facts, that can be proven in court, from live video tapes from

4 the Alameda, CA Target store showing the Defendant (Target’s) employee hitting the Plaintiff

5 intentionally with a red Targets trolly.

6 Plaintiff is alleging facts because (1) the intentional or malicious conduct, can be shown on live

7 Video tapes from the Target store, showing the Defendant (Target employee) intentionally or

8 malicious hitting the Plaintiff with the Target’s Trolly, then after the plaintiff was hit, the Plaintiff

9 walked toward the Defendant (Target employee) asking her, are you crazy? the Defendant

10 (Target’s) employee said, “Get Out Nigger”, to the Plaintiff. That shows” Intentional and

11 malicious” actions, (2) Target must have advance knowledge of its employees through its hiring

12 and recruitment process by conducting a background check on its employees before offering

13 employment, to ensure Target is hiring the right employees for their jobs and they are not

14 hiring violent and risky employees that will be a financial risk to Target.

15          This motion to “AMEND” is based on facts, the attached Memorandum of Points and

16 Authorities, the Declaration filed concurrently herewith, all the pleadings, files, and records in
17 this proceeding, all other matters of which the Court may take judicial notice, and any argument or
18   evidence that may be presented to or considered by the Court prior to its ruling.
19

20                 BRYON JACKSON

      By:          /s/ Bryon Jackson
            Bryon Jackson
21


                     PLAINTIFF PRO MOTION TO DENIES DEFENDANT MOTION TO DISMISS OR
                                STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT
             Case
              Case3:21-cv-08458-LB
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                                              15-1              Page 01/03/22
                                                                      3 of 20 Page 3 of 8



      1                     MEMORANDUM OF POINTS AND AUTHORITIES

      2 I.      INTRODUCTION AND BACKGROUND
  3             On August 24, 2021, Plaintiff Bryon Jackson filed a form complaint in the Superior Court

  4 of the State of California, County of Alameda, in case number RG21110499. On July 7, 2021,

  5 Plaintiff visited a Target store in Alameda, California, and was intentionally hit. The Target

  6 employee’s hit Plaintiff ‘deliberately’—consciously and intentionally.” by a Target

  7 trolley while Plaintiff was waiting in line for coffee.

  8             Plaintiff’s Complaint contains a prayer for punitive damages, because this Complaint is

  22 Factual as it was captured on vide tape from the Target Store in Alameda, CA and will be proven

  23 in court after video tape is subpoena from the Target store. This is a fact sufficient to support an

  24 award of punitive damages and is subject to a motion to strike on that ground and will be proven in

  25 court, from live video tapes from the Alameda, CA Target store showing the Plaintiff’s hitting me
     intentionally with a red Targets trolly.

 26 II. THE COURT MUST DENIES THE DEFENDANT TO DISMISS OR STRIKE

 27 PLAINTIFF’S PRAYER FOR PUNITIVE DAMAGES, WHICH ARE SUPPORTED

 28 BY FACTS, FROM TARGET LIVE VIDEO OF THE EMPLOYEE HITTING ME

29        WITH THE TARGET RED TROLLY.



30                    Plaintiff seeks damages are recoverable as a matter of law. Plaintiff
 31 has stated facts that will be proven in court from video tape at TARGET store in Alameda, CA,

 32 This video tape will be subpoena and shown in court as facts from TARGET in Alameda,

 33 CA showing their employee intentionally and maliciously hitting me with a red trolly.

 34 Target is liable from its employee negligence and as a result their employee’s crimes of assault.

  35 III.CONCLUSION

  36 For the foregoing reasons, Plaintiff request the Court to grant its motion to denies the defendant

  37 motion to dismiss the request to dismiss for punitive damages because this complaint is based

  38 in facts that will be proven in count from TARGET of Alameda, CA video tapes

          By:                   /s/ Bryon Jackson
                      Bryon Jackson
            Case
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                                    Document21  Filed 01/21/22 Filed
                                             15-1              Page 01/03/22
                                                                     4 of 20 Page 4 of 8



     1                                      PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 3 At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.
 5      On December 14, 2021, I served true copies of the following document(s) described as
   NOTICE OF MOTION AND MOTION OF DEFENDANT TARGET CORPORATION TO
 6 DISMISS OR STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT; MEMORANDUM
   OF POINTS AND AUTHORITIES on the interested parties in this action as follows:
 7
                            SEE ATTACHED SERVICE LIST
 8
 9
            BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
10 document(s) to be sent from e-mail address dln@manningllp.com to the persons at the e-
   mail addresses listed in the Service List. I did not receive, within a reasonable time after the
11 transmission, any electronic message or other indication that the transmission was unsuccessful.
12 BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the document(s)
   with the Clerk of the Court by using the CM/ECF system. Participants in the case
13 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
14 court rules.
15 I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
16 Court at whose direction the service was made.
17              Executed on December 14, 2021, at San Francisco, California.

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                                                        Diana Norton
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         4865-5561-6774.1
                                                       5                       Case No. 3:21-cv-08458-LB
                            PLAINTIFF PRO MOTION TO DENIES DEFENDANT MOTION TO DISMISS OR
                                       STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT
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                  3:21-cv-08458-LB Document
                                    Document21  Filed 01/21/22 Filed
                                             15-1              Page 01/03/22
                                                                     5 of 20 Page 5 of 8



     1                                          SERVICE LIST
                                     Jackson v. Target - Alameda CA 94501
     2                                       Case No. RG21110499
  3 Bryon Jackson                                      Plaintiff, In Pro Per
    1350 Marina Village Parkway
 4 Alameda, CA 94501
    Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com
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                            PLAINTIFF PRO MOTION TO DENIES DEFENDANT MOTION TO DISMISS OR
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                                                                           8



 1 David V. Roth (State Bar No.
     194648) dvr@manningllp.com
 2 Chandra Carr (State Bar No. 315259)
     czc@manningllp.com
 3 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant,
 7 TARGET CORPORATION

     8                                UNITED STATES DISTRICT COURT
 9               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 10

 11 BRYON JACKSON,                                           Case No. 3:21-cv-08458-LB

 12                    Plaintiff,                            (State Court Case No. RG21110499)
                                                             DECLARATION OF BRYON
 13             v.                                           JACKSON’S
                                                             SUPPORT OF PLAINTIFF’S IN PRO
 14 TARGET CORPORATION,                                      MOTION TO NOT
                                                             DISMISS OR STRIKE PORTIONS OF
 15                    Defendant.                            PLAINTIFF'S COMPLAINT
 16                                                          Judge:             Hon. Laurel Beeler
                                                             Hearing Date:      January 20, 2022
 17                                                          Time:              9:30 a.m.
                                                             Crtrm:             B
 18
19              I, David V. Roth, declare as follows:
20              1.I am an attorney duly admitted to practice before this Court. I am an attorney with

21 Manning & Kass, Ellrod, Ramirez, Trester LLP, attorneys of record for Defendant, TARGET
22 CORPORATION. I have personal knowledge of the facts set forth herein, and if called as a witness,

23 I could and would competently testify thereto. I make this declaration in support of Defendant Target

24 Corporation's Motion to Dismiss or Strike Portions of Plaintiff’s Complaint.

25              2.Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s Complaint.

26              I declare under penalty of perjury under the laws of the United States of America that the
27 foregoing is true and correct.

28 / / /
         4874-7883-9814.1
                                                                            Case No. 3:21-cv-08458-LB
                            PLAINTIFF PRO MOTION TO DENIES DEFENDANT MOTION TO DISMISS OR
                                       STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT
            Case 3:21-cv-08458-LB Document 21
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                                                      01/03/22 Page
                                                                Page77ofof20
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    1            Executed on this 14th day of December, 2021, at San Francisco, California.

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     3                                                     /s/ David V. Roth
                                                           David V. Roth
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         4874-7883-9814.1                                 2                     Case No. 3:21-cv-08458-LB
                            DECLARATION OF BRYON JACKSON’S SUPPORT OF PLAINTIFF’S IN PRO MOTION
                                 TO NOT DISMISS OR STRIKE PORTIONS OF PLAINTIFF’S COMPLAINT
  Case
Case   3:21-cv-08458-LB
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                                           01/03/22     Page8 8ofof208
Case 3:21-cv-08458-LB Document 21 Filed 01/21/22 Page 9 of 20


       EXHIBIT A
Case 3:21-cv-08458-LB Document 21 Filed 01/21/22 Page 10 of 20
Case 3:21-cv-08458-LB Document 21 Filed 01/21/22 Page 11 of 20
Case 3:21-cv-08458-LB Document 21 Filed 01/21/22 Page 12 of 20
Case 3:21-cv-08458-LB Document 21 Filed 01/21/22 Page 13 of 20
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            Case3:21-cv-08458-LB
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                                                                Page148 of 20
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     1                                      PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 3 At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.
 5     On December 14, 2021, I served true copies of the following document(s) described as
   DECLARATION OF DAVID V. ROTH IN SUPPORT OF DEFENDANT TARGET
 6 CORPORATION'S MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S
   COMPLAINT on the interested parties in this action as follows:
 7
                            SEE ATTACHED SERVICE LIST
 8
 9
            BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
10 document(s) to be sent from e-mail address dln@manningllp.com to the persons at the e-
   mail addresses listed in the Service List. I did not receive, within a reasonable time after the
11 transmission, any electronic message or other indication that the transmission was unsuccessful.
12 BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the document(s)
   with the Clerk of the Court by using the CM/ECF system. Participants in the case
13 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
14 court rules.
15 I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
16 Court at whose direction the service was made.
17              Executed on December 14, 2021, at San Francisco, California.

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19

20
                                                        Diana Norton
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22

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         4874-7883-9814.1
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            DECLARATION OF DAVID21   Filed IN
                                 V. ROTH    01/21/22
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                                                     OF DEFENDANT
         CORPORATION'S MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S
                                   COMPLAINT
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     1                                     SERVICE LIST
                                Jackson v. Target - Alameda CA 94501
     2                                  Case No. RG21110499
  3 Bryon Jackson                                 Plaintiff, In Pro Per
    1350 Marina Village Parkway
 4 Alameda, CA 94501
    Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com
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            DECLARATION OF DAVID21   Filed IN
                                 V. ROTH    01/21/22
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                                                     OF DEFENDANT
         CORPORATION'S MOTION TO DISMISS OR STRIKE PORTIONS OF PLAINTIFF'S
                                   COMPLAINT
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                                                                 Page181 of 20
                                                                            3



 1 David V. Roth (State Bar No.
     194648) dvr@manningllp.com
 2 Chandra Carr (State Bar No. 315259)
     czc@manningllp.com
 3 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant,
 7 TARGET CORPORATION

     8                                   UNITED STATES DISTRICT COURT
 9                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 10

 11 BRYON JACKSON,                                             Case No. 3:21-cv-08458-LB

 12                         Plaintiff,                         (State Court Case No. RG21110499)
 13               v.                                           [PROPOSED] ORDER GRANTING
                                                               MOTION TO DISMISS OR STRIKE
 14 TARGET CORPORATION,                                        PORTIONS OF PLAINTIFF’S
                                                               COMPLAINT
 15                         Defendant.
                                                               Judge:             Hon. Laurel Beeler
 16                                                            Hearing Date:      January 20, 2022
                                                               Time:              9:30 a.m.
 17                                                            Crtrm:             B
 18
19
                  Defendant Target Corporation (“Target”)’s motion to dismiss or strike portions of Plaintiff’s
20
         Complaint came on for hearing before this Court on January 20, 2022 at 9:30 a.m.. After full
21
         consideration of the matter, the Court finds as follows:
22
                  Target’s motion is GRANTED. Plaintiff’s prayer for punitive damages (Complaint, Page 3,
 23
         ¶ 14(a)(2)) is DISMISSED.
 24
                  IT IS SO ORDERED.
 25
 26
         Dated:
 27                                                              Hon. Laurel Beeler
                                                                 United States Magistrate Judge
 28
         4871-9710-0550.1                                                      Case No. 3:21-cv-08458-LB
                                 PLAINTIFF PRO MOTION NOT TO DISMISS OR STRIKE PORTIONS OF
                                                  PLAINTIFF’S COMPLAINT
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                                                                Page192 of 20
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     1                                    PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 3 At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.
 5      On December 14, 2021, I served true copies of the following document(s) described as
   [PROPOSED] ORDER GRANTING MOTION TO DISMISS OR STRIKE PORTIONS OF
 6 PLAINTIFF’S COMPLAINT on the interested parties in this action as follows:
     7                               SEE ATTACHED SERVICE LIST
 8
 9 BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s) to be
   sent from e-mail address dln@manningllp.com to the persons at the e-mail
10 addresses listed in the Service List. I did not receive, within a reasonable time after the
   transmission, any electronic message or other indication that the transmission was unsuccessful.
11
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
12 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
   who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
13 who are not registered CM/ECF users will be served by mail or by other means permitted by
   the court rules.
14
           I declare under penalty of perjury under the laws of the United States of America that the
15 foregoing is true and correct and that I am employed in the office of a member of the bar of
   this Court at whose direction the service was made.
16
           Executed on December 14, 2021, at San Francisco, California.
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 20                                                  Diana Norton
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                            PLAINTIFF PRO MOTION NOT TO DISMISS OR STRIKE PORTIONS OF
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                                                                Page203 of 20
                                                                           3



     1                                       SERVICE LIST
                                  Jackson v. Target - Alameda CA 94501
     2                                    Case No. RG21110499
  3 Bryon Jackson                                   Plaintiff, In Pro Per
    1350 Marina Village Parkway
 4 Alameda, CA 94501
    Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com
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                                                   2                        Case No. 3:21-cv-08458-LB
                            PLAINTIFF PRO MOTION NOT TO DISMISS OR STRIKE PORTIONS OF
                                             PLAINTIFF’S COMPLAINT
